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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

IN RE:                                                           CASE NO. 17-21484-EPK


MILENA V. SOKOLOFF                                       CHAPTER 7


        Debtor.

                                   /
      JOINT MOTION TO APPROVE SETTLEMENT AGREEMENT AND RELEASE
    BETWEEN (I) MILENA V.SOKOLOFF,DEBTOR AND(H)THE HORTON LAW
       GROUP,P.A. AND SOMMER HORTON WITH RESPECT TO ADVERSARY
    PROCEEDING NO.17-01432-EPK AND DEBTOR^S MOTION FOR CONTEMPT
                                             rD.E.231


                                            NOTICE
   Any interested party who fails to file and serve a written response to this motion
   within 21 days after the date of service stated in this motion shall, pursuant to
   Local Rule 9013-(D), be deemed to have consented to the entry of an order in the
   attached to this motion. Any schedule hearing may then be canceled.

   Melina V. SokolofF, Debtor-Defendant ("Debtor") and The Horton Law Group, P.A. and

Sommer C. Horton, Individually, (collectively "Horton') by and through respective undersigned

counsel, pursuant to Rule 9019 ofthe Federal Rules of Bankruptcy Procedure,file this Joint Motion

to Approve a Settlement Agreement between the Debtor and Horton, with Respect to Adversary

Proceeding No.: 17-01432-EPK, and Debtor's Motionfor Contempt against Horton [D.E. 23]. In

support ofthis Motion, the Debtor and Horton state as follows:

                                          Background

     1. On September 19, 2017 the Debtor filed a voluntary Chapter 7 bankruptcy petition.

    2. The Debtor listed in Bankruptcy Schedule F($28,431.30), representing claimed attorneys'

fees owed to Horton through legal representation of Debtor in her prior dissolution of marriage

proceeding.

     3. On November 02,2017, Horton filed an Adversary Proceeding Complaint No. 17-01432-
                 Case 17-21484-EPK       Doc 29     Filed 01/12/18     Page 2 of 23



EPK,[D.E.22] challenging the Debtor's right to the bankruptcy discharge and attorney fee debt

owed to Horton under sections 11 U.S.C. § 727(a)(2),(4) and(6)of the United States Bankruptcy

Code.[Adv. Pro. D.E, 1].

      4. On December 04, 2017,the Debtor filed a timely Answer and Affirmative Defenses to

the Horton Complaint in Adversary Proceeding No. 17-01432-EPK.[Adv. Pro. D.E. 6]

      5. On December 02, 2017, the Debtor filed a Motion to hold Horton in Contempt OfCourt

for Intentional Violations ofthe Automatic Stay, Enforcement ofthe Automatic Stay, Motion To

Vacate A State Court Charging Lien Order Entered After the Bankruptcy Filing and An Award Of

Debtor's Attorney's Fees(the"Debtor's Motion for Contempt"[D.E. 23].

     6.      On January 03, 2018, hearing was held on the Debtor's Motion for Contempt against

Horton, after listening to arguments ofthe parties and at the request of Debtor's counsel, the Court

set the matter for evidentiary hearing scheduled for February 15, 2018 at 9:30 a.m..

                                           Relief Requested


    6. The Parties have conducted settlement discussions in relation to the pending Adversary

Proceeding No. 17-01432-EPK and Debtor's Motion for Contempt[De 23]. In order to avoid the

costs and uncertainty attendant to litigation, and, after good faith negotiations, the parties have

agreed to fully settle and finalize all disputes and issues on the terms set forth herein (i) the

execution of a Settlement Agreement and Release (the "Agreement")(ii) a final judgment entered

in the adversary proceeding declaring the attorneys' fees owed Horton are discharged (iii) entering

an order voiding the Florida state court attorney's charging lien order previously entered in the

matrimonial proceeding (iv) withdrawal of the Debtor's contempt motion against Horton with

prejudice.

    7. The parties have entered into a Settlement Agreement and Release(the "Agreement")dated
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January     , 2018, a copy of the proposed Agreement is attached hereto as Exhibit "A", and is

subject to the approval of this Court.

     8. The additional terms ofthe Agreement are set forth below.

          a. Upon execution ofthe Agreement by the parties, the Debtor shall submit to the Court a

proposed Order, Granting Debtor's Motion to Approve Settlement Agreement and Release

Between Milena V. SokoloffDebtor, the Morton Law Group, P.A., Sommer Morton 2ith Respect to

Adversary Proceeding No.:17-01432-EPK and Motionfor Contempt, a copy ofthe proposed

Order is attached hereto as Exhibit       subject to approval of this Court.

          b. Promptly upon the Effective Date, Debtor's counsel shall submit a Stipulated

Judgment to the Court to be filed in the Adversary Proceeding. The Stipulated Judgment shall

order (i) the attorneys' fees($31,387.73)owed by the Debtor to Horton are discharged (ii) all

counts in the Plaintiffs adversary case are denied (iii) a separate order will be entered in the main

bankruptcy case voiding the state court charging lien order. Horton agrees that all attomey fees

associated with the state court matrimonial proceedings are to be discharged through the

bankruptcy proceedings without further contest by Horton. A true and correct copy ofthe

proposed Stipulated Judgment is attached as Exhibit "C*.

          c. Promptly upon the Effective Date,the Court shall execute an Order declaring void

and of no legal force and effect, the state court Attorney Charging Lien Order entered against

the Debtor on October 10, 2017 for $31,387.73, on behalf of Sommer C. Horton, Esq. and the

Horton Law Group, P,A,. The Debtor shall subsequently file the executed Order in the state court

matrimonial proceeding, A true and correct copy of the proposed Order is attached as Composite

Exhibit "D".


          d. Promptly upon the Effective Date the Debtor shall immediately file with the Court a
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withdrawal of the Motion to hold Horton in contempt(with the exception of the voiding and

vacating the Charging Lien Order) and the contempt hearing scheduled for February 15, 2018 (a

9:30 a.m. shall be cancelled. A true and correct copy of the proposed contempt withdrawal is

attached as Exhibit "E".


         WHEREFORE,Debtor and Horton jointly request that the Court enter an order

approving the Settlement Agreement and the proposed Exhibits attached to this Motion in form

and substance, and grant such other relief as the Court deems necessary and proper.

Dated: January(^2018

Respectfully submitted,

JAMES S. CARIS,P.A.
/S/James S Caris
401 E. LAS OLAS BLVD
#130-117
FORT LAUDERDALE,FL 33301
TEL.(954)-522-0206
FAT (954)-523-0198
EMAlL:jamescaris@yahoo.com
FL BAR NO. 382213
ATTORNEY FOR DEBTOR/DEFENDANT

and


THE HORTON LAW GROUP. P.A.
/S/ Sommer C. Horton. President
101 PLAZA REAL SOUTH
SUITE 215
BOCA RATON, FL 33432
TEL.(561)-299-0018
FAX (561)-244-1960
EMAlL:shorton@horton-law-group.com
ATTORNEY FOR PLAINTIFF


/s/ Sommer C Horton
SOMMER C. HORTON
INDIVIDUALLY
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                                   CERTIFICATE OF SERVICE .


  I HEREBY CERTIFY a true and correct copy of the foregoing was electronically served using
the CM/EOF system for the U.S. Bankruptcy Court Southern District Florida, which sent
notification to all parties of interest participating in the CM/ECF regarding this case, includeing
Trustee Debrorah on January                and by email transmission (with a physical copy of Order
attached to Certificate of Service) to the Horton Law Group,P.A. and Sommer C. Horton, Esq.,
shorion'a:horion-law-grouD.com and dvvolf@horton-law-group.com on January ^>2018 and by
First Class U.S. Mail to the United States Trustee at 51 S.W. First Avenue, Room 1024, Miami,
FIorida.33130.



                                ATTORNEY CERTIFICATION


    I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for
the Southern District of Florida and I am in compliance with the additional qualifications to
practice in this Court set forth in Local Rule 2090-1(A).

                                                   JAMES S. CARIS,P.A.
                                                   /s/James S Caris
                                                   401 E. LAS OLAS BLVD
                                                   #130-117
                                                   FORT LAUDERDALE,FL 33301
                                                   954-522-0206
                                                  jamescaris@yahoo.com
                                                   FL BAR NO. 382213
                                                              ATTORNEY FOR DEBTOR
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           EXHIBIT "A"
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                      SETTLEMENT AGREEMENT AND RELEASE

            This Settlement Agreement and Release ("Agreement") is entered into by and
between Debtor, Melina C. Sokoloff,(the "Debtor")and the Horton Law Group,P.A.and Sommer
Horton, individually, (collectively "Horton"). The Debtor and Horton shall be referred to
collectively as "Parties".

                                          RECITALS


            WHEREAS,on September 19, 2017, the Debtor filed a voluntary petition for relief
under Chapter 7 title 11 ofthe United States Bankruptcy Code,in the Southern District ofFlorida,
West Palm Beach Division (the "Court").

             WHEREAS, the Debtor listed for discharge in Bankruptcy Schedule F $28,431.30
representing claimed attorneys' fees owed to Horton through legal representation ofthe Debtor in
her prior dissolution of marriage proceeding, filed in the IS'*^ Circuit Court of West Palm Beach,
FL,Case No. 502016-DR-011536-(FZ).

             WHEREAS, on November 2, 2017 Horton filed Adversary Proceeding Complaint
No. 17-01432-EPK [D.E. 22],the Debtor's right to a bankruptcy discharge ofthe attorney fee debt
owed to Horton and Objection to general discharge be denied under sections 11 U.S. C.§ 727(a)2,4
and 6 ofthe United States bankruptcy code.[Adv. Pro. D.E.lj.

             WHEREAS,subsequent to the bankruptcy filing, on October 10,2017 Horton sought
and obtained an Attomeys Charging Lien Order for ($31,387.73) against the Debtor, which was
attached as Exhibit D to the Adversary Complaint(the "Charging Order").

              WHEREAS, in response to issuing the Charging Order and subsequent collection
efforts, on December 2, 2017 the Debtor filed a Motion to Hold Attorney Sommer Horton and the
Horton Law Group, P.A. in ConXempt ofCourt For Intentional Violations OfThe Automatic Stay,
Enforcement ofThe Automatic Stay, Motion To Vacate Estate Court Charging Lien Order Entered
After The Bankruptcy Filing And An Award OfAttorney's Fees [D.E. 23].

              WHEREAS, hearing was held on January 3, 2018 on the Debtor's Motion for
Contempt against Horton. After hearing arguments of the parties and at the request of Debtor's
counsel, the Court scheduled the matter for evidentiary hearing on February 15,2018 at 9:30 a.m..

             WHEREAS,the Parties seek to avoid the cost and uncertainty attended to litigation,
and after discussion and negotiation, have agreed to fully settle all disputes set forth in the
Bankruptcy Pleadings and Adversary Proceeding, by entering into the subsequent Agreement.
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                                       AGREEMENT


             NOW,THEREFORE,in consideration ofthe recitals set forth above and promises
made herein,the receipt and sufficiency of which is hereby acknowledged,the Parties hereto agree
as follows:
                1. Effective Date: The Agreement becomes effective on (i) execution by the
Parties, and (ii) the entry by the Court of a final non-appealable Order approving the Agreement
(the date all conditions are triggered, the "Effective Date").

               2. Recitals: The Recitals set forth above form an integral part of this Agreement
and are incorporated fully herein.

               3.    Stipulated Judgment as to Dischargeabilitv of Attorney Fees Owed to
Horton: Promptly upon the Effective Date, Debtor's counsel shall submit a Stipulated Judgment
to the Court to be filed in the Adversary Proceeding. The Stipulated Judgment shall order(i)the
attorneys' fees ($31,387.73) owed by the Debtor to Horton are discharged (ii) all counts in the
Plaintiffs adversary case are denied (iii) a separate order will be entered in the main bankruptcy
case voiding the state court charging lien order. Horton agrees that all attorney fees associated with
the state court matrimonial proceedings are to be discharged through the bankruptcy proceedings
without further contest by Horton. A true and correct copy ofthe proposed Stipulated Judgment is
attached as Exhibit "C*.

               4. Bankruptcy Order Voiding the State Court Charging Lien Order.
Promptly upon the Effective Date,the Court shall execute an Order declaring void and of no legal
force and effect, the state court Attorney Charging Lien Order entered against the Debtor on
October 10, 2017 for ($31,387.73), on behalf of Sommer C. Horton, Esq. and the Horton Law
Group, P,A,. The Debtor will file this Order in the state court matrimonial proceeding, A true and
correct copy of the proposed Order is attached as Composite Exhibit"D".

              5. Withdrawal of Motion to Hold Horton in Contempt. Promptly upon the
Effective Date the Debtor through counsel shall immediately file with the Court a Notice
withdrawing the Motion to hold Horton in contempt and the contempt hearing scheduled for
February 15, 2018 @ 9:30 a.m. shall be canceled. A true and correct copy of the proposed
contempt withdrawal is attached as Exhibit"E".

                6. Release. In consideration of each other Party's execution of this Agreement
and the settlement embodied herein, as of the Effective Date on behalf of the Debtor and Horton,
and any person or entity claiming under or through it, hereby generally releases, discharges and
acquits each other party from all costs, expenses, and claims of every kind, nature and character
whatsoever, including without limitation, claims for damages, punitive damages, claims for
dischargeability, non-dischargeability,(other than the rights and obligations of the parties as set
forth under this Agreement)whether based on contract, quasi-contract, estoppel,tort, statute, code,
rule, intentional torts, fraud, misrepresentation, breaches of fiduciary duty, recklessness, gross
negligence or negligence, or any other kind, accrued or un-accrued, known or unknown, matured,
or un-matured,liquidated or unliquidated, certain or contingent asserted or un-asserted claims, that
such releasing Party ever had or claimed to have, or now has or claims to have presently or at any
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future date, against any Released Party arising under or related to the matrimonial proceedings,
bankruptcy proceedings, and the adversary proceedings.
               7. Successors: This Agreement shall be binding in all respects upon, and shall
inure to the benefit ofthe Debtor and Horton, and their respective heirs, successors and assigns.

               8. Final Agreement: The Parties agree that there are no other agreements between the
Parties, and that this Agreement constitutes the entire agreement of the Parties concerning its terms,
and a complete merger of prior negotiations and agreements relating to those terms.

             9. No Admissions: The Parties hereto agree that neither this Agreement, the
termination of this Agreement, nor any actions taken by the Parties hereto, either previously or in
connection with the compromise reflected in this Agreement, shall be deemed or construed to be an
admission of the truth or falsity of any matter or any claim, demand, or cause of action referred to
herein or relating to the subject matter of this Agreement, or any hereto.

              10. Full Authority: Each of the Parties represents that its signatory below has the full
authority to execute, deliver and fully perform this Agreement and is fully authorized to bind its
respective Parties to all the tenns and conditions of this Agreement.

             11. Attorneys' Fees and Costs: The Parties shall bear their own attorneys' fees,costs
and expenses, in all matters associated with adversary proceeding and bankruptcy administration.

              12. Modification: This Agreement may not be modified other than by a signed
writing executed by an authorized representative of the Parties, or by further order of the Court.

             13. Choice of Law: This Agreement shall be governed by and construed in
accordance with the laws of the State of Florida without regard to the State of Florida rules
conceming conflicts of laws.

             14. Choice of Forum: The Parties agree that any action arising from or related to the
enforcement or implementation of this Agreement shall be brought in this Court.

              15. Counterparts and Facsimiles: The Agreement may be executed in counterparts,
and delivery may be affected by transmission of executed counterparts by electronic means, or by
facsimile, all of which may be given the same force and effect as a manually executed original.
IN WITNESS HEREOF, the undersigned executed this Agreement on the ,^^January 2018, as
follows:


On Behalf of the Debtor                                   On Behalf of the Creditor

                                                           /s/ Sommer C. Florton
                                                           SOMMER C. HORTON
                                                           Individually

/s/ James S. Caris                                         Sommer C. Horton. as President
James S. Caris, Esq.                                       HORTON LAW GROUP,P.A.
Attorney for the Debtor
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            EXHIBIT "B"
             Case 17-21484-EPK           Doc 29   Filed 01/12/18    Page 11 of 23




                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION
                                 www.flsb.uscourts.gov

IN RE:                                                       Case No.: 17-21484-BKC-EPK

MILENA V SOKOLOFF                                           Chapter 7

Debtors.
                                     /


         ORDER GRANTING DEBTOR'S MOTION TO APPROVE SETTLEMENT
  AGREEMENT AND RELEASE BETWEEN (i) MILENA V. SOKOLOFF,DEBTOR (ii)
THE HORTON LAW GROUP,P.A. AND (ill) SOMMER C. HORTON WITH RESPECT
 TO ADVERSARY NO.: 17-21484-EPK AND DEBTOR'S MOTION FOR CONTEMPT

       THIS MATTER came before the Court upon the Debtor's Motion to Approve Settlement

Agreement and Release Between (i) Milena V. Sokoloff, Debtor; (ii) The Horton Law Group,

P.A. and(Hi)Sommer C. Horton with Respect to Adversary Proceeding 17-21484-EPK and

Debtor's Motionfor Contempt(the "Motion "). The Court, having considered the Motion and the

Settlement Agreement and Release (the "Agreement")attached to the Motion as Exhibit"A",

and the movant having represented that the motion was served on all parties required by
             Case 17-21484-EPK         Doc 29     Filed 01/12/18     Page 12 of 23



Bankruptcy Rule 2002 or Local Rule 2002-1 (H), or(I) or (J), that the 21-day response time

provided by Local Rule 9013-1(D)has expired, that no one has filed, or even served on the

movant, a response to the motion, and that the form of order was attached as an exhibit to the

motion, and being otherwise fully advised in the premises, does thereupon ORDER as follows:

                1. The Motion is GRANTED.

                2. The Agreement is APPROVED in its entirety.

                3. The Pretrial conference in the adversary proceeding scheduled for February

14, 2018 at 9:30 a.m. and the Debtor's evidence hearing on the contempt motion scheduled for

February 15, 2018 @ 9:30 a.m., are cancelled as they have been rendered moot through the

Court's approval ofthe Agreement.

                4. The Parties are directed to comply and fulfill all terms and conditions ofthe

Agreement, and the Court retains jurisdiction to enforce the terms thereof.

                                         ###


Prepared and Submitted bv:
James S. Caris, Esq.
JAMES S. CARIS,P.A.
401 E Las Olas Blvd,#130-117
Fort Lauderdale, FL 33301
Tel.(954)522-0206
Fax (954)523-0198
E-mail: iamescaris@.vahoo.com



Copies to:
James S. Caris, Esq.
{Attorney Caris shall serve a copy ofthis Order upon all interested parties upon receipt andfile
a Certificate ofService.)
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          EXHIBIT "C"
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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                             (WEST PALM BEACH DIVISION)

In re:
                                                              Chapter 7
MILENA V. SOKOLOFF
                                                              Case No. 17-21484-EPK


                Debtor.



THE HORTON LAW GROUP,PA.

                Plaintiff,
                                                                  Adversary Proceeding No.
V.                                                                17-01432-EPK-A


MILENA SOKOLOFF


                Defendant.
                                      /


  STIPULATED JUDGMENT AS TO DISCHARGE OF ATTORNEY FEES OWED TO
                          PLAINTIFF BY DEBTOR-DEFENDANT


     THIS CAUSE having come before the Court on the Joint Motion to Approve Settlement

Agreement and Release Between (I) Milena V. Sokoloff, Debtor-Defendant ("Debtor")and (II)

                                             1
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The Horton Law Group, P.A. and Sommer Horton, (collectively, "Horton") filed in the main

bankruptcy case with respect to this Adversary Proceeding and certain other matters, and the Court

having reviewed the Joint Motion, and being advised the Parties have resolved all issues as set

forth in the Settlement Agreement filed in the main bankruptcy case and agreed to the entry of

this stipulated Judgment, good cause appearing, and being otherwise duly advised in the premises,

it is hereby

   ORDERED AND ADJUDGED as follows:

    1. The attorneys' fees owed ($31,387.73)by the Debtor to Horton is discharged pursuant to 11

U.S.C. § 727.

   2. All Counts set forth in the Plaintiffs Complaint[D.E.I],objecting to Debtor's discharge are

denied and discharge is granted under 11 U.S.C. § 727 to all relevant allegations set forth in the

Plaintiffs Complaint.

   3. A separate Order executed by this Court shall be entered in the main bankruptcy case,finding

the prior state court Order (15"^ Judicial Circuit of Florida, rendered October 10, 2017, Case No

50-2016 DR 011536 FZ), that granted an attorney charging lien in favor of Horton against the

Debtor for ($31,387.73), is VACATED and VOID, having no legal force or effect.

                                             ###


Submitted bv:
James S. Caris, Esq.
James S. Caris, P.A.
401 E. Las Olas Blvd.
#130-117
Fort Lauderdale, FL 33301
Tel.(954)522-0206
Fax (954)523-0198
E-mail: iamescaris@:yahoo.com
Attorney for the Debtor

Copies furnished to:
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James S. Cans,Esq.

(Attorney Caris shall serve a conformed copy ofthis Order upon all interested parties, andfile a
Certificate ofService with the Court)
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           COMPOSITE

          EXHIBIT "D"
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                             UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION


  IN RE:                                            CASE NO. 17-21484-EPK


  MILENA V. SOLOLOFF                                Chapter 7

                Debtor.



      ORDER VOIDING AND VACATING THE ATTORNEY CHARING LIEN ORDER
              ENTERED AGAINST DEBTOR MILENA V. SOKOLOFF


        THIS CAUSE initially came before this Court on Debtor's Motion To Hold Attorney Sommer
Morton and The Morton Law Group, P. A. In Contempt Of Courtfor Intentional Violations of The
Automatic Stay, Enforcement of The Automatic Stay, Motion to Vacate a State Court Charging Lien
Order Entered After The Bankruptcy Filing, And Award Debtor Attorneys' Fees. [D.E. 23], (the
"Motion"). Being advised the Debtor, The Horton Law Group, P.A and Sommer Horton (collectively,
the "Parties") have determined all issues raised in the Motion and have entered a Settlement
Agreement resolving the matter in full, it is
        ORDERED AND ADJUDGED that:

        The Attorney Charging Lien Order entered in favor of The Horton Law Group, P.A. against
the Debtor, Melina V. Sokoloff for ($31,387.73) on October 10, 2017 in the 15^ Circuit Court in and
for West Palm Beach Florida, Case No. 50-2016 DR 011536 (FZ), is deemed void and vacated.
              Case 17-21484-EPK         Doc 29     Filed 01/12/18     Page 19 of 23



having no legal force or effect. The now void and vacated Order is attached hereto as an Exhibit for
reference.


                                                   ###


Submitted bv:
James S. Caris, Esq.
James S. Caris, P.A.
401 E. Las Olas Blvd.
#130-117
Fort Lauderdale, PL 33301
Tel.(954)522-0206
Fax (954)523-0198
E-mail: iarnescaris@valioo.com
Attorney for the Debtor

Copies furnished to:
James S. Caris, Esq.

(Attorney Caris shall serve a conformed copy ofthis Order upon all interested parties, andfile a
Certificate ofService with the Court)
       Case 17-21484-EPK                Doc 29        Filed 01/12/18           Page 20 of 23




  Filing # 62665503 E-FUed 10/11/2017 08:37:22 AM



                      IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT,
                              IN AND FOR PALM BEACH COUNTY,FLORIDA

                                                              Case No.:
                                                              Division:

          STEPHEN SOKOLOFF,
                 Petitioner/Husband,




          MILENASOKOLOFF,
                 Respondent/Wife



                 THIS MATTER having come to be heard on October 10, 2017, on the Horton Law
          Group, PA.'s Notice and motion for Attorney's Charging Lien filed by Sommer C. Horton, Esq
          on behalf of the Horton Law Group, PA.on April S, 2017, due notice having been given to the
          parties, the Court finds that:

                 1.     Sommer C. Horton, Esq. on behalf of the Horton Law Group, PA. has
          represented MILENA SOKOLOFF,Re^ondent, in the above stjded cause.

                 2.      On December 15, 2016, Respondent agreed to pay Sommer C. Horton, Esq. on
          behalf of the Horton Law Group, P.A. a reasonable fee for services rendered on Re^ndent's
          behalf as follows: $300.00 per hour for Sommer C. Horton's time; $275.00 per hour for
          associate time; and $225.00 per hour for paralegal/legal assistant time, as can be seen by the
          Family Law Legal Services Agreement executed by MILENA SOKOLOFF/Respondent, which
          is dat^ December 15,2016.
                 3.      Respondent received a positive jtidgment/settlement in this case. Final Jud^ent
          was entered into by the court on September 6,2017.

                 4.      Sommer C. Horton, Esq. on behalf of the Horton Law Group, P.A. has not been
          paid for services rendered on behalf of Respondent in this matter. Sommer C. Horton, Esq. on
          behalf of the Horton Law Group, P.A. is owed $31,387.73 due and unpaid as compensation for
          professional legal services rendered and costs in the above-styled cause on b^alf of Respondent,
          plus accruing Interest at the maximum legal rate through the date the total amount of delivered
          and paid in full to Sommer C. Horton, Esq. on behalfofthe Horton Law Group,P.A.

                  5.     Sommer C. Horton,Esq. on behalf of the Horton Law Group, P.A. is entitled to a
          lien against monies awarded to Respcmdent for services rendered on Re^ndent's behalf.

                 6.     The Court finds the time expraded, rates charged and costs incurred on behalf of




FILED: PALM BEACH COUNTY. FL, SHARON R. BOCK. CLERK. 10/11/2017 08:37:22 AM
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    and^W » compenMliM to prefcasM^ IfSal
                                                                                 ^~
    siyled^on bdialfofRe^itoJ.inctudiiig interest accniod to date,to be$3U87.73.

          ORDER)ADJUDGE,and DECREE:
           1.      TiKnot«»toot«mtoohaigingUen61edbyS<»nnierCHoiton,E8q.onbeIialfof
    the Horton Law Group,P.A is GRANTED.
           ->      ^tommer C Horton. Esq. on bdalf ofthe Horton Law Group,P.A. is awanW a
    lien on my pi^S^itooides awatded to MILENA SOKOLOFF/Re^ent. m the amotnd of
    $31,387.73.

                DONE AND ORDERED, in chambeis, at Deliay Beadi, PALM BEACH County,
    Florida on the 10'''day ofOctober,2017.


                                                       AOMC«i>eaiA«*'*c ornfc* or To® oooar


                                              Circuit Jtidge

     Copies to:

     Sonuner C.Horton,Esq.
     The Horton Law Groiqi,P.A.
     101 Plaza Real South,Suite 215
     BOCA RATON,FL 33432
     yttnrton@hortftH-]ftw-poim.com

     MILENA SOKOLOFF
     Address unknown
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     Attorney for STEPHEN SOKOLOFF
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                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION


                                                    CASE NO. I7-2I484-EPK

  MILENA V. SOLOLOFF                                ^
                                                    Chapter 7
               Debtor.
                                         /


    NOTICE WITHDRAWING DEBTOR'S MOTION TO HOLD ATTORNEY SOMMER
    HORTON AND THE HORTON LAW GROUP P,A. IN CONTEMPT OF COURT FOR
  INTENTIONAL VIOLATIONS OF THE AUTOMATIC STAY AND ENFORCEMENT OF
                               THE AUTOMATIC STAY ID.E. 231


       SUBJECT To the Court's approval of the Settlement Stipulation entered into by the Debtor,
Attorney Sommer Horton and The Horton Law Group, P.A, this NOTICE shall be filed and will serve
as an immediate withdrawal of her Motion to Hold Attorney Sommer Horton and The Horton Law
Group, P.A. In Contempt Of Courtfor Intentional Violations of The Automatic Stay, Enforcement of
The A utomatic Stay, Motion to Vacate a State Court Charging Lien Order Entered After The Bankruptcy
Filing, and Award Debtor Attorneys'Fees. [D.E. 23],(the "Motion"). This withdrawal is subject to
the exception that the State Court Charging Lien will be voided and vacated which the parties

have agreed to as set forth in the Stipulation of Settlement.


         Executed this/^f^ay of January, 2018

                                   CERTIFICATE OF SERVICE .


 I HEREBY CERTIFY a true and correct copy of the foregoing was electronically served using
the CM/ECF system for the U.S. Bankruptcy Court Southern District Florida, which sent
notification to all parties of interest participating in the CM/ECF regarding this case, includeing
Trustee Debrorah on Febraury ,2018 and by email transmission to the Horton Law Group,
P.A. and Sommer C. Horton, Esq., shortonf/7:hoilon-law-<>roup.com and dwolf@horton-law-
izroup.com on February     ,2018
                                                                JAMES S. CARIS,P.A.
                                                                /S/James S Carls
                                                                401 E. LASOLAS BLVD
                                                                #130-117
                                                                 FORT LAUDERDALE,PL 33301
                                                                 TEL.(954)-522-0206
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                                                                 FL BAR NO. 382213
                                                                 ATTORNEY FOR DEBTOR
